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court will also have the services of the Pre-Trial program to monitor, track
and supervise released defendants.

The other function that the assigned single judge will handle is the taking
of pleas generated by the Early Case Resolution program. The
recommendation is for the district attorney and public defender each to
designate a single (or two) experienced, senior attorneys to review ali new
arrests daily. The criteria of cases to be considered will be established,
and the goal is to negotiate the resolution of as many misdemeanors and
lower level felonies the day following arrest. Available discovery will be
exchanged, and for felony cases the negotiations may be extended to allow
the necessary information to be generated. Where there is a likelihood of
an early plea, the case stays in this front-end court.

Probation will also be involved in the post-trial supervision function.
Persons who are on probation and charged with a technical violation
(non-new criminal charge) of their probation will be considered for
resolution using this same process. Defendant's who also have a new
charge along with the probation violation will result in a probation officer
providing the district attorney, public defender, and the court with
recommendations on the resolution of the violations. Once again, the goal
is to quickly address issues in the interest of resolving cases up-front.

The goal of the Early Case Resolution (ECR) Program is to expedite the
disposition of misdemeanor and lower level felony cases. The mantra is
“Same Justice Sooner.”

The success of this approach can be measured in saved jail days, reduced
adjudication costs, and better outcomes. The move to ECR depends,
however, upon a shift in paradigm: From one of accepted continuances to
one with a true expectation of swift but fair justice.

The principle benefits of Early Case Resolution are as follows:

Relieves Crowded Dockets

Reduces Case Processing Time

Allows System to Focus Time and Attention on More Serious Cases
Reduces Impact on Jail, Court and Adjudication Resources

Builds in Meaningful Review for Alternative Sentencing

» Resolve Holds and New Charges at the Same Time

In the April-June, 2007 Jail snapshot composite, 37% of the inmates were in
‘hold’ status. (Chapter Two)

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The system should set a priority on the resolution of holds. Where there
are both holds and new charges, both should be resolved at the same
court hearing.

Sonoma County
Time in Custody by Hold Type

All 90 days
Probation 58

ICE 102
CDC 96
Other County 77
Other State 149
Other 158

(Chapter Two composite: April to June, 2007)

Where the hold refers to a case waiting transport to a state prison,
attention should be given by all sides to take the steps necessary to
expedite transfer.

Of those in ‘hold’ status in the Sonoma County fail, 12% were holds for other
counties. (Chapter Tivo)

For those cases, which are holds for other jurisdictions, the resolution of
any underlying local charge should be expedited so that the prisoner can
be released to the other county.

» Review Policy Regarding Immigration and Customs Enforcement (ICE)
Case Processing

34% of all Holds in the County Jail are ICE Holds. (Chapter Two)

Sonoma County Jail is significantly impacted by federal immigration hold
cases: 141 average daily population, according to the three-month
composite Jail snapshot. These cases should be processed according to
clear local policies. Local policies should dictate how much weight will be
given to low-level local charges; the extent to which local jail will be
depended on for sentencing; and the prioritization of deportation in the
whole order of events.

93% of ICE Holds also have local charges. (Chapter Two)
The fact that the majority of ICE cases have local charges highlights the

need to expedite the resolution of these charges. Quick resolution of local
charges facilitates ultimate case disposition. And, when federal policy

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dictates deportation, there is a clear incentive to quickly resolve local
issues.

Average Time in Custody on an ICE Hold is 102 days. (Chapter Two)

One of the keys in resolving cases is early case status identification. This
requires front-end screening and verification — assisted by a Pre-Trial
Intake unit — to be able to coordinate local and federal efforts. Not only
does this improve criminal justice processing efficiency, but it impacts
local program effectiveness.

It is reported that too often an immigration sweep will result in immediate
program termination for clients making progress in local substance abuse
treatment. This results in disruption for everyone in the program.

Examine Case Attrition/ Dismissal Rates

In Sonoma County 30% of defendants booked on a felony charge resulted in a
felony conviction and 9 percent resulted in a misdemeanor conviction. (Chapter
One)

Sonoma County's conviction rate from booking to disposition does not
compare favorably to the national rate. At the national level, 57% of the
felony defendants whose cases were adjudicated within one year of arrest
were convicted of felonies and 11 percent were convicted of
misdemeanors. "

The felony-filing rate in Sonoma County is 49%. (Chapter One)

The full story of felony filing is told by examining charge attrition. More
than half (53%) of cases that was initially arrested as felonies were either
reduced to misdemeanors or ended in ‘no complaint.’ (Following district
attorney screening, 42% were reduced to a misdemeanor and 11% resulted
in ‘no complaint.)

The ‘no complaint’ group amounted to 563 cases over a one year period.

Nays,

‘Felony Defendants in Large Urban Counties, 2002,’ Feb, 2006.

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Sonoma County
‘No Complaint’ Cases

(N=563)

Misdemeanor Felony
Person 34% 57%
Property 4 16
Narcotics 5 10
DUI 6 -
Public Order 47 16
Traffic 4 1
Total 100% 100%

425 Domestic Violence arrests ended in ‘no complaint’ (Chapter One)

The majority of ‘no complaint’ cases were domestic violence cases: 92% of
Misdemeanor (Person charge) ‘no complaint’ cases, and 77% of Felony
(Person charge) ‘no complaint’ cases had domestic violence as their most
serious charge.

The bulk of the felony arrests that do not result in a conviction are those
cases that are reduced or dismissed by the district attorney at case
screening. Only 47 percent of felony arrests are filed as felonies. (An
additional 76 misdemeanor arrests resulted in a felony filing which bring
the numbers up to 49 percent of felony bookings). Once filed, 62 percent
of the felony filings result in a felony conviction and an additional 18
percent are reduced to misdemeanors.

It is recommended that the district attorney work with law enforcement to
establish county standards for booking a defendant on a felony as
opposed to a misdemeanor, particular emphasis should be placed on
domestic violence cases. District Attorney screening will be tightened as a
result of the implementation of the Early Case Resolution program.

> Streamline Pre-sentence Investigation

The pre-sentence investigation is prepared for all felony cases and for
select misdemeanor cases: DUI with injury, vehicular manslaughter, sex
offenses, violence, and child endangerment). It is recommended that
sentencing occur with 21 days of entrance of plea or finding of guilt for in-
custody defendants and 28 days for out of custody defendants. The PSI
unit has a Manager with more than 20 years experience and a group of
hard-working staff. Five officers are assigned to the courts to provide
information to the judges.

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The average time for a PSI is 45.6 days. (Chapter One)

The pre-sentence investigation process should be streamlined to allow a
faster report turnaround. The Probation Department has begun to use a
short-form on certain low-level cases where there has been a plea
negotiation; this should be expanded.

It is reported that there can be a 3-4 day delay in getting referral information from
the court to the PSI unit. (Sonoma PSI staff)

Delays in sentencing not only impact the jail, but they can affect treatment
outcomes as well, as quick entry into treatment is associated with more
positive outcomes.

In a snapshot of TASC clients in ‘pending’ status we collected several
months ago we can see the impact. At the time of the snapshot, TASC had
125 cases in ‘pending’ status; of these, the majority (92%), were in-custody.
And, of those in custody, half had been identified for treatment but were
awaiting sentencing.

TASC Pending Cases
(In-custody= 115)

Waiting Sentencing 50%
Sentenced, Waiting Treatment 40
Sentenced, Serving Time 10

Shorten Time to Complete PSI

Time to PSI completion is 43 days (in-custody) and 46 days (out of custody).
(Chapter One)

There should be a different time standard (earlier) for completing the
reports of in-custody defendants. The goal should be 21 days for in-
custody and 28 days for out-of-custody.

Build the PSI from the Pre-Trial Report

The goal of expediting the PSI process will be served by a Pre-Trial
program. Comprehensive data collection at the front-end of the system
provides a foundation on which to build. The PSI writer can use verified
pre-trial information as the starting point for their efforts, eliminating
redundancies and improving the quality of the report. This is important
because much of the information collected for the PSI is self-report.

Provide Judges with Risk Information

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Sonoma County’s Probation Department will soon be adopting an
objective risk instrument to guide its supervision services. This risk
information can also represent another level of information to help shape
sentencing options and the setting of supervision conditions.

The PSI should begin to note the criminal risk level of the offender (the
tisk of recidivism as measured by an objective risk instrument, such as the
LS-CMI). This information can inform the setting of conditions and be
valuable information, especially when considering that the charge level
itself (misdemeanor or felony) is not, by itself, a good indicator of risk.

Misdemeanant and felony defendants in the study sample share a similar profile
on several variables. (Chapter One)

Misdemeanors Felons
Age 34 33
Prior bookings (avg.) 7 6
Prior arrests (avg.) 6 7

Charge severity is not in itself a reliable indicator of risk for recidivism.
This is where the more comprehensive risk assessment becomes valuable.

Some states, such as Utah, are making drug diversion decisions based on
risk levels (using the LSI). This involves providing the judge the LSI risk
scores at the time of sentencing. We recommend that the practice of
providing judges the risk score be considered.

>» Review Utilization of Diversion and Sentence Alternatives

Study data shows that 83% of convicted felony offenders in Sonoma County were
sentenced to either prison or jail. 53% of felon offenders received a jail sentence,
higher than the national average for felons of 28%. (Chapter One)

Case processing data for Sonoma County shows that jail is the most used
sentence option. This may reflect the lack of community-based options for
felons (treatment is difficult to access for offenders with violent charges),
and lack of a full range of mental health options.

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Sonoma County
Distribution of Felony Sentences ™

Sonoma National Data
Prison 25% 41%
Jail 53 28
Probation 16 31
Work Program 6 -
Fine - -
Total 100% 100%

A comparison to national data shows that a higher reliance on jail in
Sonoma County is offset by a lower reliance on prison. At the same time,
probation is used as a straight sentence at approximately half the national
average.

The study revealed that the average sentence length for misdemeanants was 59
day; 253 days for felons. (Chapter Two)

Average Jail Sentence Length

(Felony)
Sonoma National’?
261 days 210 days

The local system has established a continuum of diversion and alternative
sentences. Programs include:

« Adult Diversion Services
Pre-filing program targets the first-time misdemeanor offender.
California Human Development Corporation (CHDC) offers it.
(737 enrollments fiscal year 2006/2007)

« Project Intercept

Program is designed to work with most misdemeanors; referrals
are made prior to adjudication. Services provided include
counseling, job assistance, and vocational support. It is offered by
CHDC. (960 enrollments fiscal year 2006/2007)

'? BJS, ‘State Court Sentencing of Convicted Felons, 2002,’ May 2005.
3 BIS, ibid. ,

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" Educational Sentencing Program
ESP is life skills program offered through CHDC as a sentence

condition or sentence alternative. (80 enrollments fiscal year
2006 / 2007)

« Deferred Entry of Judgment (DEJEP)
DEJEP is a post-plea, substance abuse diversion program, designed
to last six months, offered by CHDC.
(526 enrollments fiscal year 2006 / 2007)

* Work Program
Alternative sentencing program (in lieu of jail) that substitutes an 8-
hour work crew assignment for each day sentenced to jail. Program
is overseen by the Probation Department. (There were 940
individuals in this program at the end of June.)

Thirty-four percent (34%) of misdemeanants who received a jail sentence satisfied
their sentence in the work program only 5% of felons participated in this
program. (Chapter One)

Our case processing study showed 531 individuals referred to Project

Intercept over the year. This does not include the other 400+ individuals
who entered Project Intercept without first being booked into the Jail.

Project Intercept Referrals

(By Charge Type)
Person 12%
Property 19
Narcotics 43
DUI 1
Public Order 24
Traffic 1
Total 100%

Other alternative programs available to shorten jail sentences include:

County Parole

Inmates, with at least 2 weeks remaining in their sentence, are eligible to
apply for release consideration to supervised county parole. Program is
run by the Probation Department. (There were 13 individuals in this
program at the end of June 2007)

Secure Community Confinement (SCC)

Sentenced inmates released early are restricted to their homes by way of
an electronic monitoring device. (There were 67 individuals in this
program at the end of June 2007. Capacity is 75)

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Work Furlough
Sentenced inmates are released to continued work during the day and
return to the Jail at the end of the workday.

How these programs are used should be reviewed. They have been built
up over time, and the diversity of offerings and how they are applied
should be reassessed at this juncture. A committee should be formed to
re-examine the various programs. Questions to be asked include: For
which populations are the programs available? (Could Project Intercept be
made available for more felony offenders, for example); how are offenders
assigned?; what are the different pathways to entry (courts or probation);
is the existing organizational structure the most efficient?; what do
program outcomes indicate about service quality?; etc. The goal is to
consider how these options can be used for greatest impact.

Data on these programs was not readily available. Comparisons of
populations served (by charge type and level, and legal status) would be a
starting point. For misdemeanor offenders it was noted that, for the most
part, the populations in one program are similar to another. For some the
entryway is the courts (work release) and for others it is probation (county
parole). A few issues are mentioned below.

County Parole

That the mechanism is in place for Probation screening for this program,
begs the question of what it would take to take fuller advantage of this jail
release option.

At this time there are only 13 inmates out an County Parole. (Probation staff
data)

Catherine Boyd and Ann Batiste, Probation Department personnel who
work the early release programs in the Jail, note that the expansion of
drug diversion and other options has had the effect of leaving a more
complex mix of cases in jail for consideration. Still, these inmates will
eventually be released and the question to consider is how to craft a
quality transition plan.

At this time, similar to the TASC assessment, the inmate initiates the

request for county parole review — instead of having a universal screening
process in place.

The re-examination of this program should look at the eligibility criteria
(most are rejected); the screening process (staff need 2-3 weeks to

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complete a ‘mini-PSI’); the profile of those accepted and rejected; the
supervision and program resources available for those released; etc.

Work Program (Work Release)

Unlike the low numbers in County Parole, Work Release is serving a large
number of individuals.

On the first of July there were 940 persons in the Work Release program.
(Probation Department data}

Primarily a misdemeanor sentence option, offenders are sentenced by the
court and perform one day of labor for each day of their sentence.
Offenders are screened by County Probation (Pre-Trial unit) and are
assigned to work crews. For those offenders who already hold a full-time
job, the time involved to satisfy a 90-day court order can take (by working
one 8-hour day each weekend) almost 2-years to complete. Some
offenders opt to apply for the ‘work furlough’ program instead. And, for
these who serve their 30-day sentence in jail the actual time served, after
good time credits, can be closer to 20 days.

In addition to knowing more about the profile of participants, it would
also be instructive to know about treatment involvement. As the county
prepares to discuss a DUI court it should examine the manner in which
DUI cases (2nd offenders) are now accessing county parole, and how
those services might be structured to better compliment other DUI efforts.
The quality and continuity of those services should be reviewed.

As an example, DUI inmates who apply for county parole and are
accepted are released to a probation officer who supervises the person
through the duration of their sentence. But when supervision ends, it just
ends. The program is not designed to transition offenders to continued
services. The question here, as with ali the local efforts, is how to deliver
programs in the most cohesive manner.

The community court concept has shown, for example, that work orders

combined with service referrals and group sessions is one approach to try
an interrupt future re-offending. With minor enhancements a good work
program might yield improved outcomes.

» Review Short-Term Prison Sentences

20% of offenders sentenced to prison from Sonoma County recetved a sentence of
16 months or less. (Chapter One)

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The County may want to take a closer look at this population. Knowing
more about the profile of this group and a finer break-out of lengths of
stay can be helpful in future discussions with the State. The issue,
explored in other states, is whether the lower risk, technical violator who
is sentenced to prison for short periods (many for four months or less, we
are told} could be accommodated in the county with financial assistance
from the state for jail and programming.

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Ill. Jail Alternative Facility: Community Corrections Center

» Plan an Alternative ‘Step-Down’ Facility

Sonoma County would benefit from an alternative custody facility that
would provide the option to move inmates from custody to the

community along a structured continuum: a Community Corrections
Center (CCC).

The fact that Sonoma County already has alternative sentence programs in
place, and a mechanism, through Probation, to screen cases for step-down
from jail, positions it well to move to the next level of jail transition
services. A Community Corrections Center would provide a flexible
option to reduce pressure on the Jail, provide a structured but lower cost
alternative to incarceration, and address (through programs) the issues
that underlie offender recidivism. A CCC provides an important interim
intervention, between jail and the community: a ‘step-out’ to a work based
and program rich facility.

The goal is to begin to view jail as the ‘gateway’ to the community. For
every felony offender who enters the Jail, planning for eventual release
should begin immediately. All felony inmates should be screened for
release, and an individualized plan developed, moving them toward
release to either the CCC or to county parole. At this time, although most
inmates are eligible for release consideration after serving half their
sentence, an inmate must request a review. We propose a universal
screening of all inmates at the time of sentencing to develop a transition
plan.

Of those booked into the Sonoma County Jail, 53% of misdemeanants and 54% of
felons reported they were unemployed. (Chapter One)

Offenders who serve their time in a Community Corrections Center are
expected to either be involved with programming and/or be working in
the community during the day. For those who have jobs, this helps
ensure that jail time does not contribute to the loss of employment. For
the unemployed, significant programming will be offered around
developing job skills, as well as finding, interviewing, and maintaining
employment.

Of those misdemeanants sentenced to jail, 34% were ordered to the work
program, in lieu of jail. (Chapter One)

A Community Corrections Center (CCC) can serve as both a Day
Reporting Center for low-risk offenders who have program conditions to

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satisfy; and as a facility where inmates return in the evening for lock-
down, after a day of work in the community.

43% of misdemeanants sentenced to jail served all their time in jail; 84% of felons
sentenced to jail served all their time in jail. (Chapter One)

A Community Corrections Center can serve many system goals: jail step-
down; treatment for those pending residential placement (instead of
waiting in a more expensive jail bed); a constructive sanction for those in
programs or probation; etc. Services should focus on employment search,
cognitive skills, restitution, and substance abuse.

In Sonoma County, 596 of sentenced felons were court ordered to the work
program. (Chapter One)

A Community Corrections Center represents a lower cost jail population
management option.

The nature of the facility, which is program-based and grounded in the
transition to community, suggests that consideration be given to having it
managed by the Probation Department.

A Community Corrections Center (CCC) prepares inmates for successful
transition back to the community. It is a minimum security residential
facility that offers a structured, supervised living environment as an
alternative to jail. Inmates at the CCC work in the community during the
day and then return to the facility for the night.

A CCC provides a lower cost option to jail and extends the limits of
confinement. It is based on the philosophy that a structured progression
from jail to the community can be effective in reducing risk. It provides a
positive and structured environment in which to learn and test new skills
and chart a path for the future.

Inmates at a CCC serve the remainder of their sentence while finding
employment and having the benefit of a range of programs. The principal
goal is to facilitate successful re-entry to the community. Benefits to the
system include:

Lower cost alternative to Jail
Improved Outcomes
Added Flexibility in Managing Inmate Population

+. + +
+? + +~

A Community Corrections Center should be planned as part of a
comprehensive ‘step-down’ strategy for moving inmates along a
Custody-to-Community Continuum; developing tracks out of jail, based on
inmate risk and needs.

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A CCC fills a need between the Jail (reserved for the highest security
population), and community-based options: such as work crews and
community service (for the direct placement or step-down of lower
security inmates). The CCC is reserved for the medium to high risk
offender.

Target Population
Community Corrections Centers can serve a diverse population, and they

can also function as a Day Reporting Center. Foremost, they are designed
to serve sentenced jail inmates who transition to the CCC to serve the
remainder of a sentence; or jail inmates who, because of their classification
level, may be moved directly to the CCC to serve their time. Populations
found in these facilities include:

" Jail inmates in last phase of sentence

. Probationers in the CCC ona sanction for a violation of
supervision

7 Drug Court or other treatment participants at risk of failure

® Pre-Trial inmates (who would be detained in jail without this
option)

: Discharged jail inmates in need of voluntary, short-term
stabilization

r Prisoners re-entering the community

A CCC can also serve as a Day Reporting Center, providing a hub of
services where offenders may be asked to report for daily check-ins, or to
access support services, such as computer labs and classes.

Programs

Individual case plans are designed to address conditions of supervision,
court orders, treatment needs, community safety, victim restitution, and
successful transition back to the community. Issues addressed include
employment, cognitive programming and substance abuse. A range of
services are commonly offered. These may include:

. Substance abuse treatment

° Mental health evaluation and services

. Cognitive skills classes

. Employment testing and job search assistance

. GED and literacy classes

. Life skills: nutrition, parenting, money management,

computer skills

Residential Treatment
Some Centers, such as the one in Washington County, Oregon provide
longer term residential treatment to a sub-set of the population. In

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Washington County, an intensive 90-day treatment program is offered to
a co-ed population within the facility.

Work Programs
Some Centers have made vocational advancement the centerpiece of their
operations. The range of work-related services found in Centers includes:

Aptitude testing

Job Search Skill training

Classroom based vocational skills development
Occupational skills development

Center organized or sponsored work projects (day labor)
Job referrals or placement

Job Clubs/support groups

Job support: bus tokens, clothing, etc.

Job tracking and support

There is much room for creativity in the development of this component
of the Center. The importance of this aspect of the program is supported
by research showing that inmates who participate in community-based
industries projects have reduced recidivism and improved post-
incarceration employment retention. "

Individualized plans for each CCC inmate should be based on the risk and
needs of the offender, and the anticipated length of stay at the Center.
For residents with short stays (less than a couple of weeks) the principal
goal is to connect them to treatment prior to release. For those with
longer stays, the goal is to work with the resident to find employment,
engage in treatment, and move into drug and alcohol free housing upon
exit.

Administration

Community Corrections Centers can be managed by different agencies.
In a Probation model, the CCC is staffed by Corrections Specialists. In
either model staff has the responsibility for monitoring the security of the
facility, conducting urinalysis tests, and tracking the daily plans of the
residents. Residential counselors work with residents to develop
individualized plans for services.

Cost

' Marilyn Moses, “Faclories Behind Fences: Do Prison ‘Real Work’ Programs Work?”, National Institute
of Justice Journal, Issue: 257, June 2007, U.S. Dept. of Justice

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